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     IT IS ORDERED as set forth below:



     Date: March 17, 2020
                                                                   _________________________________

                                                                              Paul W. Bonapfel
                                                                        U.S. Bankruptcy Court Judge
    _______________________________________________________________



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                         )        Chapter 11
                                                               )
THE KRYSTAL COMPANY, et al.,1                                  )        Case No. 20-61065 (PWB)
                                                               )
                                                               )
                  Debtors.                                     )        (Jointly Administered)
                                                               )

                  ORDER (I) SETTING A BAR DATE FOR FILING
      PROOFS OF CLAIM, (II) SETTING AN AMENDED SCHEDULES BAR DATE,
     (III) SETTING A REJECTION DAMAGES BAR DATE, (IV) APPROVING THE
     FORM OF AND MANNER FOR FILING PROOFS OF CLAIM, (V) APPROVING
        NOTICE OF THE BAR DATES, AND (VI) GRANTING RELATED RELIEF

         Upon the motion (the “Motion2”) of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) establishing the bar dates for


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: The Krystal Company (4140); Krystal Holdings, Inc. (5381); and K-Square Acquisition Co.,
    LLC (8916). The location of the Debtors’ corporate headquarters and service address is: 1455 Lincoln Parkway,
    Suite 600, Dunwoody, Georgia 30346.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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filing proofs of claim in these chapter 11 cases; (b) establishing the bar date for filing proofs of

claim following the Debtors’ amendment of their Schedules; (c) establishing the bar date for filing

proofs of claim for damages arising from the Debtors’ rejection of executory contracts or unexpired

leases; (d) approving the form of and manner for filing proofs of claim; (e) approving notice of the

Bar Dates; and (f) granting related relief; all as more fully set forth in the Motion; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is

in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate under the circumstances and no other notice need be provided; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at the hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

I.     The Bar Dates and Procedures for Filing Proofs of Claim

       2.      Each entity that asserts a claim against the Debtors that arose before the

Petition Date is required to file an original, written Proof of Claim, substantially in the form


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attached hereto as Exhibit 1 or Official Form 410. Except in the cases of governmental units and

certain other exceptions explicitly set forth herein, all Proofs of Claim must be filed so that they

are received on or before May 19, 2020, at 5:00 p.m., prevailing Eastern Time (the “Claims Bar

Date”), at the addresses and in the form set forth herein. The Claims Bar Date applies to all types

of claims against the Debtors that arose or are deemed to have arisen before the Petition Date,

except for claims arising under section 503(b)(9) of the Bankruptcy Code for goods received by

the Debtors within the 20 day period prior to the Petition Date and claims specifically exempt from

complying with the Claims Bar Date as set forth in this Order.

       3.      If the Debtors file a previously unfiled Schedule or amend or supplement the

Schedules after having given notice of the Bar Dates, the Debtors shall give notice by first-class

mail of any filing, amendment, or supplement to holders of claims affected thereby, and the

deadline for those holders to file Proofs of Claim, if necessary, shall as the later of (a) the Claims

Bar Date or the Governmental Bar Date, as applicable, or (b) 5:00 p.m. prevailing Eastern Time

on the date that is 30 days from the date the notice of the filing, amendment or supplement is given

(or another time period as may be fixed by the Court) (the “Amended Schedules Bar Date”).

       4.      Unless otherwise ordered, all entities asserting claims arising from the rejection of

executory contracts and unexpired leases of the Debtors shall file a Proof of Claim on account of

such rejection by the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable;

or (b) 5:00 p.m. prevailing Eastern Time on the date that is 30 days following entry of an order

approving the rejection of any such executory contract or unexpired lease (the “Rejection Damages

Bar Date”).




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       5.      All Proofs of Claim must be filed so as to be received by the Claims and Noticing

Agent on or before the applicable Bar Date. If Proofs of Claim are not received by the Claims and

Noticing Agent on or before the applicable Bar Date, the holders of the underlying claims shall be

barred from asserting such claims against the Debtors and precluded from voting on any chapter

11 plans filed in these chapter 11 cases and/or receiving distributions from the Debtors on account

of such claims in these chapter 11 cases.

II.    Parties Required to Submit a Proof of Claim

       6.      The following categories of claimants shall be required to file a Proof of Claim by

the applicable Bar Date:

       (a)     any entity whose claim against a Debtor is not listed in the applicable Debtor’s
               Schedules or is listed as “contingent,” “unliquidated,” or “disputed” and if such
               entity desires to share in any distribution in any of these chapter 11 cases;

       (b)     entity that believes that its claim is improperly classified in the Schedules or is listed
               in an incorrect amount and who desires to have its claim allowed in a different
               classification or amount other than that identified in the Schedules; and

       (c)     any entity that believes that any claim listed in the Schedules is not an obligation
               of the specific Debtor against which the claim is listed and that desires to have its
               claim allowed against a different Debtor.

III.   Parties Not Required to File Proofs of Claim

       7.      The following categories of claimants shall not be required to file a Proof of Claim

by the applicable Bar Date:

       (a)     any entity that already has filed a signed Proof of Claim against the respective
               Debtor(s) with the Clerk of the Court or with the Claims and Noticing Agent in a
               form substantially similar to Official Form 410;

       (b)     any entity whose claim is listed on the Schedules if: (i) the claim is not scheduled
               as “disputed,” “contingent,” or “unliquidated;” (ii) such entity agrees with the
               amount, nature, and priority of the claim as set forth in the Schedules; and (iii) such
               entity does not dispute that its claim is an obligation only of the specific Debtor
               against which the claim is listed in the Schedules;

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       (c)    any entity whose claim previously has been allowed by order of the Court;

       (d)    any entity whose claim has been paid in full by the Debtors in accordance with an
              order of the Court;

       (e)    any Debtor or non-Debtor subsidiary having a claim against another Debtor;

       (f)    any entity whose claim is solely against any of the Debtors’ non-Debtor affiliates;

       (g)    any holder of an equity interest in a Debtor need not file a proof of interest with
              respect to the ownership of such equity interest at this time; provided, however, that
              any holder of an equity interest who wishes to assert a claim against a Debtor,
              including a claim relating to such equity interest or the purchase or sale of such
              interest, must file a proof of claim asserting such claim on or prior to the Claims
              Bar Date pursuant to procedures set forth herein;

       (h)    an employee of any Debtor holding a claim for wages, commissions, or benefits if
              an order of this Court authorized the Debtors to honor such claim in the ordinary
              course of business; provided, however, that a current or former employee must
              submit a Proof of Claim by the Claims Bar Date for all other claims arising before
              the Petition Date, including claims for wrongful termination, discrimination,
              harassment, hostile work environment, and/or retaliation, as applicable;

       (i)    any entity holding a claim for which a separate deadline is fixed by the Court;

       (j)    any entity that is exempt from filing a Proof of Claim by order of the Court;

       (k)    administrative expense claims for post-petition fees and expenses incurred by any
              professional allowable under sections 330, 331, and 503(b) of the Bankruptcy
              Code; and

       (l)    claims asserting administrative priority and arising in the ordinary course of
              business (but not, for the avoidance of doubt, claims asserting priority pursuant to
              section 503(b)(9) of the Bankruptcy Code for goods received by the Debtors within
              the 20 day period prior to the Petition Date ).

IV.    Substantive Requirements of Proofs of Claim

       8.     The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

       (a)    Contents. Each Proof of Claim must: (i) be legible and written in English; (ii)
              include a claim amount denominated in United States dollars (using the Petition
              Date rate of conversion, if applicable); (iii) conform substantially with the Proof of


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            Claim Form or Official Form 410; and (iv) be signed by the claimant or by an
            authorized agent or legal representative of the claimant.

      (b)   Original Signatures Required. Each Proof of Claim other than an electronically
            submitted Proof of Claim must contain an original signature of the claimant or the
            claimant’s authorized agent or legal representative. Copies of Proofs of Claim or
            Proofs of Claim sent by facsimile or electronic mail will not be accepted.

      (c)   Identification of the Debtor Entity. Each Proof of Claim must clearly identify the
            Debtor against which the claim is being asserted, including such Debtor’s
            individual case number. A Proof of Claim filed under the joint administration case
            number (No. 20-61065) or otherwise without identifying a specific Debtor, will be
            deemed filed only against Debtor The Krystal Company.

      (d)   Claim Against Multiple Debtors. Each Proof of Claim must state a claim against
            only one Debtor. If a creditor has a claim against multiple Debtors, it must file a
            separate Proof of Claim against each such Debtor. If more than one Debtor is listed
            on a single Proof of Claim, the asserted claim will be deemed filed only against the
            first-listed Debtor. If the claimant asserts a claim against more than one Debtor or
            has claims against different Debtors, a separate Proof of Claim must be filed with
            respect to each Debtor.

      (e)   Supporting Documentation. Each Proof of Claim must include supporting
            documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d).

      (f)   Timely Filing. Each Proof of Claim (including supporting documentation) must
            be filed so as to be received, on or before the applicable Bar Date by either: (i)
            electronically using the interface available on the Notice and Claims Agent’s
            website at https://epoc.kccllc.net/Krystal; or (ii) first-class U.S. Mail, overnight
            mail, or other hand-delivery system, which Proof of Claim must include an original
            signature, at the following address:

                    The Krystal Company Claims Processing Center
                    c/o KCC
                    222 N. Pacific Coast Hwy, Suite 300
                    El Segundo, CA 90245
                    T: (888) 249-2792

                    Proofs of claim submitted by facsimile or electronic mail will not be
                    accepted and will not be deemed timely FILED.

      (g)   Receipt of Service. Claimants wishing to receive acknowledgment that their Proofs
            of Claim were timely received by the Claims and Noticing Agent must submit (i) a
            copy of the Proof of Claim (in addition to the original Proof of Claim) and (ii) a
            self-addressed, stamped envelope.

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V.     Identification of Known Creditors

       9.      The Debtors shall mail notice of the Bar Dates only to their known creditors, and

such mailing shall be made to the last known mailing address for each such creditor.

VI.    Procedures for Providing Notice of Bar Date

       A.      Mailing of Bar Date Notice

       10.     Within five business days after entry of this Order, the Debtors shall cause written

notice of the Bar Dates, substantially in the form attached hereto as Exhibit 2 (the “Bar Date

Notice”) and a Proof of Claim Form (together, the “Bar Date Package”) to be mailed via first-class

U.S. mail to the following entities:

       (a)     the Office of the U.S. Trustee;

       (b)     the Office of the United States Attorney for the Northern District of Georgia and
               for the other federal districts in which the Debtors conduct business;

       (c)     counsel to the Committee;

       (d)     all creditors and holders of potential claims against the Debtors, in each case,
               known as of the date of the Bar Date Order, including all persons or entities listed
               in the Schedules for which the Debtors have addresses;

       (e)     each of the parties on the Limited Service List;

       (f)     all creditors and other known holders of claims against the Debtors as of the date
               of entry of the Bar Date Order, including all entities listed in the Schedules as
               holding claims against the Debtors;

       (g)     all persons or entities that, upon reasonable inquiry, are believed to have conducted
               business with the Debtors;

       (h)     all entities that have requested notice of the proceedings in these chapter 11 cases
               pursuant to Bankruptcy Rule 2002 as of the date the Bar Date Order is entered;

       (i)     all entities that have filed Proofs of Claim in these chapter 11 cases as of the date
               of the Bar Date Order;




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       (j)     all known non-Debtor holders of equity interests in the Debtors as of the date the
               Bar Date Order is entered;

       (k)     all entities who are party to executory contracts and unexpired leases with the
               Debtors;

       (l)     all entities who are party to litigation with the Debtors;

       (m)     all current and former employees (to the extent that contact information for former
               employees is available in the Debtors’ records);

       (n)     all regulatory authorities that regulate the Debtors’ businesses;

       (o)     all taxing authorities for the jurisdictions in which the Debtors maintain or conduct
               business;

       (p)     the state attorneys general for states in which the Debtors conduct business;

       (q)     the Pension Benefit Guaranty Corporation;

       (r)     the United States Internal Revenue Service; and

       (s)     the United States Securities and Exchange Commission.

       11.     The Debtors shall provide all known creditors listed in the Schedules with a Proof

of Claim Form. Additionally, any creditor may choose to submit a Proof of Claim on a different

form as long as it is substantially similar to Official Form 410.

       12.     After the initial mailing of the Bar Date Packages the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that:

(a) notices are returned by the post office with forwarding addresses; (b) certain parties acting on

behalf of parties in interest decline to pass along notices to these parties and instead return their

names and addresses to the Debtors for direct mailing, and (c) additional potential claimants

become known as the result of the Bar Date mailing process. In this regard, the Debtors may make

supplemental mailings of the Bar Date Packages in these and similar circumstances at any time up




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to 30 days in advance of the Bar Date, with any such mailings being deemed timely and the

appropriate Bar Date being applicable to the recipient creditors.

       B.      Publication of Bar Date Notice

       13.     The Debtors shall cause notice of the Bar Dates to be given by publication to

creditors to whom notice by mail is impracticable, including creditors who are unknown or not

reasonably ascertainable by the Debtors and creditors whose identities are known but whose

addresses are unknown by the Debtors. Specifically, the Debtors shall cause the Publication

Notice, in substantially the form annexed hereto as Exhibit 3, to be published on one occasion in

the New York Times (National Edition).

VII.   Consequences of Failure to File a Proof of Claim

       14.     Any entity who is required, but fails, to file a Proof of Claim in accordance with

this Order on or before the applicable Bar Date shall be forever barred, estopped, and enjoined

from asserting such claim against the Debtors (or filing a Proof of Claim with respect thereto) and

the Debtors and their property shall be forever discharged from any and all indebtedness or liability

with respect to or arising from such claim.

VIII. Miscellaneous

       15.     The Debtors are authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Order in accordance with the Motion.

       16.     The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of the Bar Date Order.




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       17.    This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.

                                   [END OF DOCUMENT]




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Prepared and presented by:

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Counsel for the Debtors in Possession
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                                   Exhibit 1

                              Proof of Claim Form
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                                                            United States Bankruptcy Court for the Northern District of Georgia

                     Indicate Debtor against which you assert a claim by checking the appropriate box below. (Check only one Debtor per claim form.)

☐ The Krystal Company (Case No. 20-61065)                       ☐ Krystal Holdings, Inc. (Case No. 20-61067)                 ☐ K-Square Acquisition Co., LLC (Case No. 20-61068)




 Official Form 410
 Proof of Claim                                                                                                                                                               04/19
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed.

   Part 1:    Identify the Claim

  1. Who is the current
     creditor?
                                   Name of the current creditor (the person or entity to be paid for this claim)

                                   Other names the creditor used with the debtor


  2. Has this claim been                  No
     acquired from
     someone else?                        Yes.     From whom?

  3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
     notices and                                                                                                   different)
     payments to the
     creditor be sent?
                                   Name                                                                            Name

      Federal Rule of              Number          Street                                                          Number          Street
      Bankruptcy Procedure
      (FRBP) 2002(g)
                                   City                                  State               ZIP Code              City                                State                 ZIP Code


                                   Country                                                                         Country

                                   Contact phone                                                                   Contact phone

                                   Contact email                                                                   Contact email

                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                   ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


  4. Does this claim                      No
     amend one already
     filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                         MM     /   DD   /   YYYY

  5. Do you know if                       No
     anyone else has filed
     a proof of claim for                 Yes. Who made the earlier filing?
     this claim?




   Official Form 410                                                               Proof of Claim
                                                                                      page 1
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number             No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $                                            . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim        No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature of property:

                                                  Real estate: If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a          No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                      No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                                   Proof of Claim
                                                                        page 2
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12. Is all or part of the claim              No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                            Amount entitled to priority

    A claim may be partly                         Domestic support obligations (including alimony and child support) under
    priority and partly                           11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                     $
    in some categories, the                       Up to $3,025* of deposits toward purchase, lease, or rental of property or
    law limits the amount                         services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                         $
    entitled to priority.
                                                  Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                  days before the bankruptcy petition is filed or the debtor’s business ends,                     $
                                                  whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                  Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                           $

                                                  Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                               $

                                                  Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                               $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).                             I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
A person who files a              I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
fraudulent claim could be         the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fined up to $500,000,
imprisoned for up to 5            I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
3571.                             I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on date
                                                                 MM / DD / YYYY




                                          Signature


                                  Print the name of the person who is completing and signing this claim:

                                  Name
                                                          First name                              Middle name                            Last name

                                  Title


                                  Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          Number              Street


                                                          City                                               State                      ZIP Code             Country

                                  Contact phone                                                                                 Email




 Official Form 410                                                            Proof of Claim
                                                                                 page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                                   04/19


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors do
not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.

    A person who files a fraudulent claim could be fined up to   PLEASE SEND COMPLETED PROOF(S) OF CLAIM
    $500,000, imprisoned for up to 5 years, or both.
                                                                 TO:
    18 U.S.C. §§ 152, 157 and 3571
                                                                 The Krystal Company Claims Processing Center
                                                                 c/o KCC
                                                                 222 N. Pacific Coast Hwy., Ste. 300
How to fill out this form                                        El Segundo, CA 90245

    Fill in all of the information about the claim as of the
    date the case was filed.                                         A Proof of Claim form and any attached documents
                                                                     must show only the last 4 digits of any social security
                                                                     number, individual’s tax identification number, or
    Fill in the caption at the top of the form                       financial account number, and only the year of any
                                                                     person’s date of birth. See Bankruptcy Rule 9037.

    If the claim has been acquired from someone else,
    then state the identity of the last party who owned              For a minor child, fill in only the child’s initials and the
    the claim or was the holder of the claim and who                 full name and address of the child’s parent or guardian.
    transferred it to you before the initial claim was filed.        For example, write A.B., a minor child (John Doe, parent, 123
                                                                     Main St., City, State). See Bankruptcy Rule 9037.

    Attach any supporting documents to this form.
    Attach redacted copies of any documents that show that
    the debt exists, a lien secures the debt, or both. (See
                                                                 Confirmation that the claim has been filed
    the definition of redaction on the next page.)
                                                                 To receive confirmation that the claim has been filed, either
    Also attach redacted copies of any documents that show       enclose a stamped self-addressed envelope and a copy of this
    perfection of any security interest or any assignments or    form or you may view a list of filed claims in this case by
    transfers of the debt. In addition to the documents, a       visiting the Claims and Noticing and Agent’s website at
    summary may be added. Federal Rule of Bankruptcy             http://www.kccllc.net/krystal.
    Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                 Understand the terms used in this form
    Do not attach original documents because                     Claim: A creditor’s right to receive payment for a debt that the
    attachments may be destroyed after scanning.                 debtor owed on the date the debtor filed for bankruptcy. 11
                                                                 U.S.C. §101 (5). A claim may be secured or unsecured.

    If the claim is based on delivery health care goods
    or services, do not disclose confidential health care
    information. Leave out or redact confidential
    information both in the claim and in the attached
    documents.
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Creditor: A person, corporation, or other entity to whom a      Secured claim under 11 U.S.C. §506(a): A claim backed by a
debtor owes a debt that was incurred on or before the date      lien on particular property of the debtor. A claim is secured to
the debtor filed for bankruptcy. 11 U.S.C. §101 (10).           the extent that a creditor has the right to be paid from the
                                                                property before other creditors are paid. The amount of a
                                                                secured claim usually cannot be more than the value of the
Debtor: A person, corporation, or other entity to who is in     particular property on which the creditor has a lien. Any
bankruptcy. Use the debtor’s name and case number as            amount owed to a creditor that is more than the value of the
shown in the bankruptcy notice you received.                    property normally may be an unsecured claim. But exceptions
11 U.S.C. §101 (13).                                            exist; for example, see 11 U.S.C. § 1322(b) and the final
                                                                sentence of 1325(a).
                                                                Examples of liens on property include a mortgage on real estate
Evidence of perfection: Evidence of perfection of a             a security interest in a car. A lien may be voluntarily granted
security interest may include documents showing that a          by a debtor or may be obtained through a court proceeding. In
security interest has been filed or recorded, such as a         states, a court judgment may be a lien.
mortgage, lien, certificate of title, or financing statement.

                                                                Setoff: Occurs when a creditor pays itself with money
Information that is entitled to privacy: A Proof of Claim       belonging to the debtor that it is holding, or by canceling a debt
form and any attached documents must show only the last         it owes to the debtor.
4 digits of any social security number, an individual’s tax
identification number, or a financial account number, only
the initials of a minor’s name, and only the year of any        Uniform claim identifier: An optional 24-character identifier
person’s date of birth. If a claim is based on delivering
                                                                that some creditors use to facilitate electronic payment.
health care goods or services, limit the disclosure of the
goods or services to avoid embarrassment or disclosure of
confidential health care information. You may later be
                                                                Unsecured claim: A claim that does not meet the requirements
required to give more information if the trustee or someone
                                                                of a secured claim. A claim may be unsecured in part to the
else in interest objects to the claim.
                                                                extent that the amount of the claim is more than the value of
                                                                the property on which a creditor has a lien.
Priority claim: A claim within a category of unsecured
claims that is entitled to priority under 11 U.S.C. §507(a).
These claims are paid from the available money or               Offers to purchase a claim
property in a bankruptcy case before other unsecured            Certain entities purchase claims for an amount that is less than
claims are paid. Common priority unsecured claims               the face value of the claims. These entities may contact
include alimony, child support, taxes, and certain unpaid       creditors offering to purchase their claims. Some written
wages.                                                          communications from these entities may easily be confused
                                                                with official court documentation or communications from the
                                                                debtor. These entities do not represent the bankruptcy court, the
Proof of claim: A form that shows the amount of debt the        bankruptcy trustee, or the debtor. A creditor has no obligation
debtor owed to a creditor on the date of the bankruptcy         to sell its claim. However, if a creditor decides to sell its claim,
filing. The form must be filed in the district where the case   any transfer of that claim is subject to Bankruptcy Rule
is pending.                                                     3001(e), any provisions of the Bankruptcy Code (11 U.S.C. §
                                                                101 et seq.) that apply, and any orders of the bankruptcy court
                                                                that apply.
Redaction of information: Masking, editing out, or
deleting certain information to protect privacy. Filers must
redact or leave out information entitled to privacy on the
Proof of Claim form and any attached documents.




Do not file these instructions with your form.
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                                   Exhibit 2

                                Bar Date Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                           )        Chapter 11
                                                                 )
THE KRYSTAL COMPANY, et al.,1                                    )        Case No. 20-61065 (PWB)
                                                                 )
                                                                 )
                    Debtors.                                     )        (Jointly Administered)
                                                                 )

                      NOTICE OF DEADLINES FOR THE FILING OF
              (I) PROOFS OF CLAIM, AND (II) REJECTION DAMAGES CLAIMS

TO ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY OF
THE FOLLOWING DEBTOR ENTITIES:

                                                                                             Federal Tax Identification
                     Debtor Name                                 Case Number                         Number
    The Krystal Company                                 Case No. 20-61065 (PWB)             XX-XXXXXXX
    Krystal Holdings, Inc.                              Case No. 20-61067 (PWB)             XX-XXXXXXX
    K-Square Acquisition Co., LLC                       Case No. 20-61068 (PWB)             XX-XXXXXXX

PLEASE TAKE NOTICE THAT:

         On January 19, 2020 (the “Petition Date”), The Krystal Company and certain of its
affiliates and subsidiaries (collectively, the “Debtors”) filed voluntary petitions for relief under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Georgia (the “Court”).

        On [●], 2020, the Court entered an order [Docket. No. [●]] the (“Bar Date Order”)2
establishing certain dates by which parties holding prepetition claims against the Debtors must file
proofs of claim (“Proofs of Claim”), and claims for damages stemming from rejection of executory
contracts or unexpired leases. For your convenience, enclosed with this notice (this “Notice”) is a
Proof of Claim form.



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: The Krystal Company (4140); Krystal Holdings, Inc. (5381); and K-Square Acquisition Co.,
      LLC (8916). The location of the Debtors’ corporate headquarters and service address is: 1455 Lincoln Parkway,
      Suite 600, Dunwoody, Georgia 30346.

2
      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Bar Date
      Order.
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       As used in this Notice, the term “entity” has the meaning given to it in section 101(15) of
the Bankruptcy Code, and includes all persons, estates, trusts, and governmental units. The terms
“persons” and “governmental units” are defined in sections 101(41) and 101(27) of the Bankruptcy
Code, respectively.

        As used in this Notice, the term “claim” means, as to or against the Debtors and in
accordance with section 101(5) of the Bankruptcy Code: (a) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,
disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an equitable
remedy for breach of performance if such breach gives rise to a right to payment, whether or not
such right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
disputed, undisputed, secured, or unsecured.

I.        The Bar Dates

             The Bar Date Order establishes the following bar dates for filing Proofs of Claim in
     these chapter 11 cases (the “Bar Dates”).

          (a)    The Claims Bar Date. Pursuant to the Bar Date Order, except as described below,
                 all entities holding claims against any Debtor that arose or are deemed to have
                 arisen prior to the commencement of these cases on the Petition Date, are required
                 to file Proofs of Claim so that such Proofs of Claim are received by the Claims
                 and Noticing Agent by the Claims Bar Date (i.e., on or before May 19, 2020 at
                 5:00 p.m., prevailing Eastern Time). The Claims Bar Date applies to all types of
                 claims against any Debtor that arose prior to the Petition Date, including, without
                 limitation, secured claims, unsecured priority claims, and unsecured non-priority
                 claims, except for claims arising under section 503(b)(9) of the Bankruptcy Code
                 for goods received by the Debtors within the 20 day period prior to the Petition
                 Date.

          (b)    The Governmental Bar Date. All governmental units holding claims against the
                 Debtors that arose or are deemed to have arisen prior to the commencement of these
                 cases on the Petition Date are required to file proofs of claim so that such Proofs
                 of Claim are received by the Claims and Noticing Agent by July 20, 2020 at 5:00
                 p.m., prevailing Eastern Time (the “Governmental Bar Date”). The Governmental
                 Bar Date applies to all governmental units holding claims against the Debtors
                 (whether secured, unsecured priority, or unsecured non-priority) that arose prior to
                 the Petition Date, including, without limitation, governmental units with claims
                 against the Debtors for unpaid taxes, whether such claims arise from prepetition tax
                 years or periods or prepetition transactions to which the Debtors were a party.

          (c)    The Amended Schedules Bar Date. Pursuant to the Bar Date Order, all parties
                 asserting claims against the Debtors’ estates that are affected by a previously
                 unfiled Schedule or amendment or supplement to the Schedules are required to file
                 Proofs of Claim so that such Proofs of Claim are received by the Claims and

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               Noticing Agent by the Amended Schedules Bar Date (i.e., by the later of (a) the
               Claims Bar Date or the Governmental Bar Date, as applicable depending on the
               claimant, or (b) 5:00 p.m., prevailing Eastern Time, on the date that is 30 days
               from the date on which the Debtors provide notice of such filing, amendment or
               supplement).

       (d)     The Rejection Damages Bar Date. Pursuant to the Bar Date Order, all parties
               asserting claims against the Debtors’ estates arising from the Debtors’ rejection of
               an executory contract or unexpired lease are required to file Proofs of Claim with
               respect to such rejection so that such Proofs of Claim are received by the Claims
               and Noticing Agent by the Rejection Damages Bar Date (i.e., by the later of (a)
               the Claims Bar Date or the Governmental Bar Date, as applicable, or
               (b) 5:00 p.m., prevailing Eastern Time, on the date that is 30 days following entry
               of an order approving such rejection).

II.    Who Must File a Proof of Claim

       Except as otherwise set forth herein, the following entities holding claims against the
Debtors that arose (or that are deemed to have arisen) prior to the Petition Date must file Proofs of
Claim on or before the applicable Bar Date:

       (a)     any entity whose claim against a Debtor is not listed in the applicable Debtor’s
               Schedules or is listed as “contingent,” “unliquidated,” or “disputed” and if such
               entity desires to share in any distribution in any of these chapter 11 cases;

       (b)     any entity that believes that its claim is improperly classified in the Schedules or is
               listed in an incorrect amount and who desires to have its claim allowed in a different
               classification or amount other than that identified in the Schedules; and

       (c)     any entity that believes that any claim listed in the Schedules is not an obligation
               of the specific Debtor against which the claim is listed and that desires to have its
               claim allowed against a different Debtor.

III.   Parties Who Do Not Need to File Proofs of Claim

        Certain parties are not required to file Proofs of Claim. The Court may, however, enter
one or more separate orders at a later time requiring creditors to file Proofs of Claim for some
kinds of the following claims and setting related deadlines. If the Court does enter such an order,
you will receive notice of it. The following entities holding claims that would otherwise be subject
to the Bar Dates need not file Proofs of Claims:

       (a)     any entity that already has filed a signed Proof of Claim against the respective
               Debtor(s) with the Clerk of the Court or with the Claims and Noticing Agent in a
               form substantially similar to Official Form 410;


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      (b)   any entity whose claim is listed on the Schedules if: (i) the claim is not scheduled
            as “disputed,” “contingent,” or “unliquidated;” (ii) such entity agrees with the
            amount, nature, and priority of the claim as set forth in the Schedules; and (iii) such
            entity does not dispute that its claim is an obligation only of the specific Debtor
            against which the claim is listed in the Schedules;

      (c)   any entity whose claim previously has been allowed by order of the Court;

      (d)   any entity whose claim has been paid in full by the Debtors in accordance with an
            order of the Court;

      (e)   any Debtor or non-Debtor subsidiary having a claim against another Debtor;

      (f)   any entity whose claim is solely against any of the Debtors’ non-Debtor affiliates;

      (g)   any holder of an equity interest in a Debtor need not file a proof of interest with
            respect to the ownership of such equity interest at this time; provided, however, that
            any holder of an equity interest who wishes to assert a claim against a Debtor,
            including a claim relating to such equity interest or the purchase or sale of such
            interest, must file a proof of claim asserting such claim on or prior to the Claims
            Bar Date pursuant to procedures set forth herein;

      (h)   an employee of any Debtor holding a claim for wages, commissions, or benefits if
            an order of this Court authorized the Debtors to honor such claim in the ordinary
            course of business; provided, however, that a current or former employee must
            submit a Proof of Claim by the Claims Bar Date for all other claims arising before
            the Petition Date, including claims for wrongful termination, discrimination,
            harassment, hostile work environment, and/or retaliation, as applicable;

      (i)   any entity holding a claim for which a separate deadline is fixed by the Court;

      (j)   any entity that is exempt from filing a Proof of Claim by order of the Court;

      (k)   administrative expense claims for post-petition fees and expenses incurred by any
            professional allowable under sections 330, 331, and 503(b) of the Bankruptcy
            Code; and

      (l)   claims asserting administrative priority and arising in the ordinary course of
            business (but not, for the avoidance of doubt, claims asserting priority pursuant to
            section 503(b)(9) of the Bankruptcy Code for goods received by the Debtors within
            the 20 day period prior to the Petition Date).




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IV.    Instructions for Filing Proof of Claim

       The following requirements shall apply with respect to filing and preparing each Proof of
Claim against the first-listed Debtor.

       (a)    Contents. Each Proof of Claim must: (i) be legible and written in English; (ii)
              include a claim amount denominated in United States dollars (using the Petition
              Date rate of conversion, if applicable); (iii) conform substantially with the Proof of
              Claim Form or Official Form 410; and (iv) be signed by the claimant or by an
              authorized agent or legal representative of the claimant.

       (b)    Original Signatures Required. Each Proof of Claim other than an electronically
              submitted Proof of Claim must contain an original signature of the claimant or the
              claimant’s authorized agent or legal representative. Copies of Proofs of Claim or
              Proofs of Claim sent by facsimile or electronic mail will not be accepted.

       (c)    Identification of the Debtor Entity. Each Proof of Claim must clearly identify the
              Debtor against which the claim is being asserted, including such Debtor’s
              individual case number. A Proof of Claim filed under the joint administration case
              number (No. 20-61065) or otherwise without identifying a specific Debtor, will be
              deemed filed only against Debtor The Krystal Company.

       (d)    Claim Against Multiple Debtors. Each Proof of Claim must state a claim against
              only one Debtor. If a creditor has a claim against multiple Debtors, it must file a
              separate Proof of Claim against each such Debtor. If more than one Debtor is listed
              on a single Proof of Claim, the asserted claim will be deemed filed only against the
              first-listed Debtor. If the claimant asserts a claim against more than one Debtor or
              has claims against different Debtors, a separate Proof of Claim must be filed with
              respect to each Debtor.

       (e)    Supporting Documentation. Each Proof of Claim must include supporting
              documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d).

       (f)    Timely Filing. Each Proof of Claim (including supporting documentation) must
              be filed so as to be received, on or before the applicable Bar Date by (i)
              electronically using the interface available on the Notice and Claims Agent’s
              website at https://epoc.kccllc.net/Krystal; or (ii) first-class U.S. Mail, overnight
              mail, or other hand-delivery system, which Proof of Claim must include an original
              signature, at the following address:

                      The Krystal Company Claims Processing Center
                      c/o KCC
                      222 N. Pacific Coast Hwy, Suite 300
                      El Segundo, CA 90245
                      T: (888) 249-2792

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                       Proofs of claim submitted by facsimile or electronic mail will not be
                       accepted and will not be deemed timely FILED.

       (g)     Receipt of Service. Claimants wishing to receive acknowledgment that their Proofs
               of Claim were timely received by the Claims and Noticing Agent must submit (i) a
               copy of the Proof of Claim (in addition to the original Proof of Claim) and (ii) a
               self-addressed, stamped envelope.

V.     Consequences of Failing to Timely File Your Proof of Claim

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you
are required, but fail, to file a Proof of Claim in accordance with the Bar Date Order on or before
the applicable Bar Date, please be advised that:

       (a)     YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
               ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS (OR FILING
               A PROOF OF CLAIM WITH RESPECT THERETO IN THESE CHAPTER 11
               CASES);

       (b)     THE DEBTORS AND THEIR PROPERTY SHALL BE FOREVER
               DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR LIABILITY
               WITH RESPECT TO OR ARISING FROM SUCH CLAIM;

       (c)     YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE CHAPTER 11
               CASES ON ACCOUNT OF THAT CLAIM; AND

       (d)     YOU WILL NOT BE PERMITTED TO VOTE ON ANY CHAPTER 11 PLAN
               FOR THE DEBTORS ON ACCOUNT OF THAT CLAIM OR RECEIVE
               FURTHER NOTICES REGARDING SUCH CLAIM.

VI.    Amendment to the Debtors’ Schedules

        If, subsequent to the date of this Notice, the Debtors file a previously unfiled Schedule or
amend or supplement their Schedules to reduce the amount of your claim previously listed in the
Schedules as undisputed, noncontingent, and liquidated, or to change the nature or classification
of your claim reflected in the Schedules, you are required to file a Proof of Claim or amend any
previously filed Proof of Claim in respect of the additional or amended scheduled claim on or
before the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable to such
claim, or (b) 5:00 p.m. prevailing Eastern Time on the date that is 30 days after the date that on
which the Debtors provide notice of the filing, amendment, or supplement to the Schedules (or
another time period as may be fixed by the Court) (the “Amended Schedules Bar Date”).




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VII.   The Rejection Damages Bar Date

       If you have a claim arising from the rejection of an executory contract or unexpired lease,
you must submit your Proof of Claim based on such rejection on or before the later of (a) the
Claims Bar Date or the Governmental Bar Date, as applicable, or (b) 5:00 p.m., prevailing Eastern
Time, on the date that is 30 days following entry of an order approving such rejection (the
“Rejection Damages Bar Date”). The Debtors will provide notice of the Rejection Damages Bar
Date to the contract or lease counterparty whose contract or lease is being rejected at the time the
Debtors reject such executory contract or unexpired lease.

VIII. The Debtors’ Schedules and Access Thereto

       You may be listed as the holder of a claim against one or more of the Debtors on the
Debtors’ Schedules. It is your responsibility to determine that your claim is accurately listed in
the Schedules.

       If you agree with the nature, amount, and status of your claim as listed in the Debtors’
Schedules, and if you do not dispute that your claim is only against the Debtor specified by the
Debtors, and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you
need not file a Proof of Claim. Otherwise, or if you decide to file a Proof of Claim, you must do
so before the applicable Bar Date in accordance with the procedures set forth in this Notice.

IX.    Additional Information

       Copies of the Debtors’ Schedules, the Bar Date Order, and other information regarding
these chapter 11 cases are available for inspection free of charge on the Claims and Noticing
Agent’s website at https://www.kccllc.net/krystal. The Schedules and other filings in these chapter
11 cases also are available for a fee at the Court’s website at https://ecf.ganb.uscourts.gov/. A
login identification and password to the Court’s Public Access to Court Electronic Records
(“PACER”) are required to access this information and can be obtained through the PACER
Service Center at http://www.pacer.psc.uscourts.gov.

         If you require additional information regarding the filing of a proof of claim, you may
contact the Claims and Noticing Agent directly by writing to: The Krystal Company Claims
Processing Center, c/o KCC, 222 N. Pacific Coast Hwy, Suite 300, El Segundo, CA 90245. Please
note that the Claims and Noticing Agent cannot offer legal advice or advise whether you should
file a proof of claim.

THIS NOTICE IS BEING SENT TO MANY PERSONS AND ENTITIES THAT HAVE
HAD SOME RELATIONSHIP WITH OR HAVE DONE BUSINESS WITH THE
DEBTORS BUT MAY NOT HAVE AN UNPAID CLAIM AGAINST THE DEBTORS.
THE FACT THAT YOU HAVE RECEIVED THIS NOTICE DOES NOT MEAN THAT
YOU HAVE A CLAIM OR THAT THE DEBTORS OR THIS COURT BELIEVE THAT
YOU HAVE ANY CLAIM. A HOLDER OF A POSSIBLE CLAIM AGAINST THE
DEBTORS SHOULD CONSULT AN ATTORNEY REGARDING ANY MATTERS NOT

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COVERED BY THIS NOTICE, SUCH AS WHETHER THE HOLDER SHOULD FILE A
PROOF OF CLAIM.

                                      Reservation of Rights

        Nothing contained in this Bar Date Notice is intended, or should be construed, as a waiver
of the rights of the Debtors or any party in interest to: (a) dispute, or assert offsets or defenses
against, any claim asserted by a Proof of Claim or listed on the Schedules, (b) subsequently
designate any scheduled claim as disputed, contingent, or unliquidated; and otherwise amend or
supplement the Schedules.

                           [Remainder of page intentionally left blank.]




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 Date: ______________, 2020       Respectfully submitted,
       Atlanta, GA
                                  KING & SPALDING LLP


                                  /s/ ____________
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                                  Georgia Bar No. 610649
                                  Jeffrey R. Dutson
                                  Georgia Bar No. 637106
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                                  Counsel for the Debtors in Possession




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                                   Exhibit 3

                               Publication Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                           )        Chapter 11
                                                                 )
THE KRYSTAL COMPANY, et al.,1                                    )        Case No. 20-61065 (PWB)
                                                                 )
                                                                 )
                    Debtors.                                     )        (Jointly Administered)
                                                                 )

                  NOTICE OF DEADLINE FOR FILING OF PROOFS OF CLAIM

PLEASE TAKE NOTICE OF THE FOLLOWING:

        Deadlines for Filing Proofs of Claim. On [●], 2020 the Court entered an order [Dkt. No.
__] the (“Bar Date Order”)2 establishing certain dates by which parties holding prepetition claims
against the Debtors (listed below) must file proofs of claim (“Proofs of Claim”), including
Rejection Damages Claims.

                                                                                             Federal Tax Identification
                     Debtor Name                                 Case Number                         Number
    The Krystal Company                                 Case No. 20-61065 (PWB)             XX-XXXXXXX
    Krystal Holdings, Inc.                              Case No. 20-61067 (PWB)             XX-XXXXXXX
    K-Square Acquisition Co., LLC                       Case No. 20-61068 (PWB)             XX-XXXXXXX

The Bar Dates

        Claims Bar Date. Pursuant to the Bar Date Order, all entities, including individuals,
partnerships, estates, and trusts who have a claim or potential claim against the Debtors, that arose
prior to the Petition Date, no matter how remote or contingent such right to payment or equitable
remedy may be, MUST FILE A PROOF OF CLAIM on or before May 19, 2020 at 5:00 p.m.,
prevailing Eastern Time (the “Claims Bar Date”).

       Governmental Bar Date. Governmental entities who have a claim or potential claim against
the Debtors that arose prior to the Petition Date, no matter how remote or contingent such right to



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: The Krystal Company (4140); Krystal Holdings, Inc. (5381); and K-Square Acquisition Co.,
      LLC (8916). The location of the Debtors’ corporate headquarters and service address is: 1455 Lincoln Parkway,
      Suite 600, Dunwoody, Georgia 30346.

2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bar Date Order.
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payment or equitable remedy may be, MUST FILE A PROOF OF CLAIM on or before July 20,
2020 at 5:00 p.m., prevailing Eastern Time (the “Governmental Bar Date”).

        Amended Schedules Bar Date. All parties asserting claims against the Debtors’ estates that
are affected by a previously unfiled Schedule or an amendment or supplement to the Schedules
are required to file Proofs of Claim by the later of (a) the Claims Bar Date or the Governmental
Bar Date, as applicable, or (b) 5:00 p.m., prevailing Eastern Time, on the date that is 30 days
from the date on which the Debtors provide notice of a previously unfiled Schedule or
amendment or supplement to the Schedules (the “Amended Schedules Bar Date”).

        Rejection Damages Bar Date. All parties asserting claims against the Debtors’ estates
arising from the Debtors’ rejection of an executory contract or unexpired lease must file a Proof
of Claim by the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable,
or (b) 5:00 p.m. prevailing Eastern Time on the date that is 30 days following entry of an
order approving such rejection (the “Rejection Damages Bar Date”).

ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM OR WHO FAILS
TO FILE AN ADMINISTRATIVE CLAIM WITH THE COURT, IN EACH CASE ON OR
BEFORE THE APPLICABLE BAR DATE, SHALL NOT BE TREATED AS A CREDITOR
WITH RESPECT TO SUCH CLAIM FOR THE PURPOSES OF VOTING AND
DISTRIBUTION ON ANY CHAPTER 11 PLAN.

        Filing a Proof of Claim. Each Proof of Claim must be filed, including supporting
documentation, by (i) electronically using the interface available on the Notice and Claims Agent’s
website at https://epoc.kccllc.net/Krystal; or (ii) first-class U.S. Mail, overnight mail, or other
hand-delivery system, which Proof of Claim must include an original signature, so as to be
received by KCC (the “Claims and Noticing Agent”) on or before the Claims Bar Date or the
Governmental Bar Date (or, where applicable, on or before any other Bar Date as set forth herein)
at the following address:

                       The Krystal Company Claims Processing Center
                       c/o KCC
                       222 N. Pacific Coast Hwy, Suite 300
                       El Segundo, CA 90245
                       T: (888) 249-2792

        Contents of Proofs of Claim. Each proof of claim must (i) be legible and written in
English; (ii) include a claim amount denominated in United States dollars (using the Petition Date
rate of conversion, if applicable); (iii) conform substantially with the Proof of Claim Form; (iv) be
signed by the claimant or by an authorized agent or legal representative of the claimant; and (v)
include as attachments any and all supporting documentation on which the claim is based. Please
note that each proof of claim must state a claim against only one Debtor and clearly indicate the
specific Debtor against which the claim is asserted. To the extent more than one Debtor is listed
on the proof of claim, a proof of claim is treated as if filed only against the first-listed Debtor, or



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if a proof of claim is otherwise filed without identifying a specific Debtor, the proof of claim may
be deemed as filed only against The Krystal Company.

        ADDITIONAL INFORMATION. If you have any questions regarding the claims
process and/or you wish to obtain a copy of the Bar Date Notice, a Proof of Claim Form or related
documents you may do so by: (i) calling the Debtors’ restructuring hotline at (888) 249-2792
(U.S./Canada) or (310) 751-2607 (International); (ii) visiting the Debtors’ restructuring website
at: https://www.kccllc.net/krystal; and/or (iii) The Krystal Company Claims Processing Center,
c/o KCC, 222 N. Pacific Coast Hwy, Suite 300, El Segundo, CA 90245. Please note that the
Claims and Noticing Agent cannot offer legal advice or advise whether you should file a proof of
claim.

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 Date: ______________, 2020       Respectfully submitted,
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